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                   Thomas-Jensen
                    Affirmation



                      Exhibit # 116
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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND



   STATE OF NEW YORK; et al.,

                  Plaintiffs,

          v.                                               C.A. No. 1:25-cv-00039-JJM-PAS

   DONALD TRUMP, in his official capacity as
   President of the United States; et al.,

                  Defendants.



                                DECLARATION OF JENNY HEDDIN


         I, Jenny Heddin, hereby declare:
         1.      I am over the age of 18, competent to testify as to the matters herein, and make this

  declaration based on my personal knowledge and the records of the Washington State Department

  of Children, Youth, and Families (DCYF) to which I have access.

         2.      I am the Deputy Secretary, Chief of Staff, for the Department of Children, Youth,

  and Families (DCYF) for the State of Washington. I have served as the Deputy Secretary, Chief

  of Staff of DCYF since my appointment October 6, 2023. I served as the Finance Director for
  Children’s Administration from 2013 until the creation of DCYF in 2018. I also served as the Chief

  Financial Officer for DCYF from its creation until moving into other administrative roles in 2022.

  In these various roles, I oversaw the administration of the full array of financial activities for

  DCYF. I hold a Master’s in Public Administration and have worked for Washington State for

  20 years.

         3.      DCYF is a Cabinet-level Washington State agency focused on the well-being of

  children. Its mission is to ensure that Washington State’s children and youth grow up safe and

  healthy, thriving physically, emotionally, and academically, nurtured by family and community.

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  DCYF is the lead agency for services that support children and families to build resilience and

  health, and to improve educational outcomes. It partners with state and local agencies, tribes, and

  other organizations in communities across the State of Washington. DCYF focuses on supporting

  children and families at their most vulnerable points, giving them the tools they need to succeed.

  According to brain science, laying a strong foundation early in life critically impacts healthy

  development. And addressing trauma, especially at critical transition points in the lives of youth,

  helps ensure successful transition into adulthood. To truly give all children the great start in school

  and life they deserve, DCYF was created to be a comprehensive agency exclusively dedicated to
  the social, emotional, and physical well-being of children, youth and families—an agency that

  prioritizes early learning, prevention, and early intervention at critical points along the age

  continuum from birth through adolescence.

         4.      In service of its mission, the Department of Children, Youth, and Families provides

  lifesaving services in support of the people of Washington State. DCYF operates Washington

  State’s child welfare, child protection, juvenile rehabilitation, early learning, child care licensing

  and foster care licensing systems. To support these systems, DCYF plays a critical role in budget

  planning, policy development, and fiscal administration on behalf of tens of thousands of

  vulnerable children and families.

         5.      As the Deputy Secretary, Chief of Staff, I oversee all aspects of DCYF programs

  and ensure that DCYF is providing accurate programmatic information and policy support to the

  Governor, Legislature, and the public.

         6.      I am aware of the January 27, 2025, memorandum (M25-13) from the Office of

  Management and Budget Acting Director Matthew J. Vaeth regarding a “Temporary Pause of

  Agency Grant, Loan, and Other Financial Assistance Programs.” This memorandum directed all

  federal agencies to, among other things, “temporarily pause all activities related to obligation or

  disbursement of all Federal financial assistance” for an undisclosed amount of time. If this or a

  similar pause of federal financial assistance were to go into effect, it would immediately cripple

  vital services and funding for Washingtonians and providers alike.

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         7.      The withholding of federal funds previously appropriated by Congress to fund child

  welfare and other vital services supporting and protecting Washington children and families is a

  direct attack on vulnerable U.S. citizens, including those in Washington. Failure to continue any

  one of, much less all, the programs that currently receive Congressionally appropriated federal

  funds will have immediate, detrimental and costly impacts on the people and economy of

  Washington State for years to come.

         8.      Washington State laws and regulations that govern DCYF’s Child Welfare

  Programs were specifically crafted to comply with federal statutory and regulatory requirements
  in the expectation that the financial partnership between the state and federal government would

  maximize resources available to ensure that Washington State children and families have the

  opportunity to thrive in safe, healthy environments. As a prerequisite to the receipt of funds, the

  federal government reviewed and approved state plans for participation in the following programs:
               a. Title IV-E State Plan – Foster Care/Adoption Assistance/Guardian Assistance

                   (includes monthly payments to foster parents, adoptive parents and guardians)

               b. Advanced Planning Document (IV-E CCWIS/IT funding) – Funds our child

                   welfare case management system

               c. Child Care Development Fund Plan – Funds child care services

               d. Title IV-B Child and Family Services Plan (CFSP) and Annual Progress and

                   Services Report (APSR) – Funds child welfare services by promoting the welfare

                   of all children, preventing child abuse and neglect, supporting families to safely

                   keep children in their homes, promoting safety and welfare of children in foster

                   care, and promoting and supporting adoption.

               e. Title IV-E Training Plan – Funds eligible training for workforce and caregivers.


         9.      By incorporating aspects of federal funding requirements into the fabric of the law,

  Washington State committed itself morally and financially to the welfare of its children. The

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  federal government committed Congressionally appropriated funds to make that possible.

  Withholding federal financial assistance to these programs would be a dereliction of the federal

  government’s commitments that would irreparably damage foundational aspects of Washington’s

  public child welfare system resulting in immediate and vast harms to the children and families this

  system serves.

         10.       DCYF has a wide array of programs and services for vulnerable children and

  families, impacting tens of thousands of Washingtonians across the state. From early education

  and childhood development to foster care, childcare, and rehabilitative services, the impacts of a

  reduced level of promised federal funding will do extensive harm to some of the most vulnerable

  populations in Washington State.

         11.       The Washington State Office of Financial Management regularly calculates its

  State Expenditure of Federal Awards (SEFA) with all federal funds that the State receives in a

  given fiscal year. For the most recently completed fiscal year FY2024, running from July 1, 2023,

  to June 30, 2024, DCYF received $730,706,110 in federal funding for direct client services.

         12.       Federal Grant awards cover a breadth of programmatic areas allowing for services

  that cross the spectrum of childhood safety, development, and learning.

         13.       The Office of Juvenile Justice and Delinquency Prevention Formula Award is

  awarded through the Department of Justice and is a Title I of Public Law 90-351 of the Omnibus

  Crime Control and Safe Streets Act of 1968. The total federal expenditures per the 2024 SEFA

  were $807,217. This critical funding supports juvenile delinquency prevention activities and

  evidence-based improvements to the state’s juvenile justice system. In partnership with the Center

  for the Study and Advancement of Justice Effectiveness, work is focused on reducing racial and

  ethnic disparities in the juvenile justice system, building more culturally responsive and effective

  services into pre-court diversion programs, improving the availability and responsivity of

  evidence-based programs, and expanding data access and analysis.



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         14.     The Special Education – Grants for Infants and Families with Disabilities is

  granted through the United States Department of Education and is identified in Public Law 105-17

  PART – C Individual with Disabilities Education Act. The total federal expenditures per the 2024

  SEFA was $13,911,568. This critical funding assists states with implementing and maintaining a

  statewide system to identify, evaluate, and provide early intervention services to infants and

  toddlers with disabilities and their families.

         15.     The majority of the funding sources for the populations served by DCYF are housed

  within the United States Department of Health and Human Services (HHS). The Administration
  of Children and Families (ACF) is within HHS, and it administers multiple federal grants that

  impact DCYF programs, totaling $715,987,325 per the 2024 SEFA. Specific awards from ACF to

  DCYF are as follows:

               a. The      Child    Welfare        Early   Learning   Navigator   and   Washington

                   Strengthening Families grants are found in 42 USC 5101, which had total

                   federal expenditures per the 2024 SEFA of $761,522. The goals of these programs

                   are to promote long-term positive outcomes for children and decrease subsequent

                   reports of abuse or neglect and out-of-home placements for families with active

                   child welfare cases. Programmatic focuses are to help families become stronger

                   together through a variety of tactics including home visiting, community outreach

                   and partnerships, and funding opportunities with local organizations.

               b. The Education and Training Voucher grant per Section 477 of the Social

                   Security Act, had total federal expenditures per the 2024 SEFA of $1,251,531.

                   The Education and Training Voucher Program provides eligible foster youth and

                   youth involved with the child welfare system with a voucher to attend an

                   institution of higher education per academic year. Funds cover a variety of needs

                   which include, but are not limited to, tuition, fees, books, supplies, and an

                   allowance for transportation and childcare.

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            c. Adoption Opportunities – Washington Permanency from Day One Initiative

               grant per 42 USC 5101, Section 106(a), had total federal expenditures per the

               2024 SEFA of $1,361,754. This is a 5-year cooperative agreement with the

               Children’s Bureau within ACF to provide resources to build system capacity to

               support children removed from their homes, as well as their families and the

               workforce who serve these families, to achieve improved permanency outcomes.

            d. The Independent Living Skills grant, per Section 477 of the Social Security Act,

               had total federal expenditures per the 2024 SEFA of $3,526,274. Funding assists
               States in designing programs to successfully help foster youth transition to

               adulthood and self-sufficiency. Services and activities provided to foster youth to

               assist with the transition to self-sufficiency include but are not limited to:

               educational help and support, employment, financial management, housing,

               emotional support, and fostering connections to caring adults.

            e. The Community Based Child Abuse Prevention grant, per Title II of the Child

               Abuse Prevention and Treatment Act Amendments of 1996, had total federal

               expenditures per the 2024 SEFA of $3,153,652. The focus of these funds is to

               prevent child abuse and neglect through education and public awareness,

               including through community-based services and resources. Services range from

               comprehensive support for families to promoting the improved development of

               parenting skills.

            f. The Marylee Allen Promoting Safe and Stables Families Program;

               Title IV-B Subpart 1, Stephanie Tubbs Jones Child Welfare Services grant,

               per Sections 421-429 of the Social Security Act, had total federal expenditures

               per the 2024 SEFA of $5,945,722. These programmatic funds target child welfare

               services aimed at accomplishing the following purposes:

                          •   protect and promote the welfare of all children

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                          •   prevent neglect, abuse, or exploitation of children

                          •   support families with a child at risk of being removed through

                              services which allow children, where safe and appropriate, to

                              remain with their families or return to their families in a timely

                              manner

                          •   promote the safety, permanence, and well-being of children in

                              foster care and adoptive families

                          •   provide training, professional development, and support to ensure
                              a well-qualified workforce

            g. The Promoting Safe and Stable Families, Family Preservation, and Kinship

               Navigator, Title IV-B Subpart 2 grant, per sections 430-439 of the Social

               Security Act, had total federal expenditures per the 2024 SEFA of $6,643,388.

               The foundational goals of this grant award are to prevent the unnecessary

               separation of children and youth from their families, improve the quality of care

               and services to children, youth, and their families, and ensure permanency for

               children and youth by reuniting them with their parents, by adoption, or by

               another permanent living arrangement. The grant requires service delivery in the

               following four categories:

                          •   Family support

                          •   Family preservation

                          •   Family reunification

                          •   Adoption promotion and support

            h. The Every Student Succeeds Act/Preschool Development Grant, in Public

               Law 114-95, Title IX, Section 9212, had total federal expenditures per the 2024

               SEFA of $8,691,713. These funds provide critical assistance to states to help low-

               income and disadvantaged children enter Kindergarten prepared and ready to


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               succeed in school, including the transition to elementary school. The grant

               requires programs to meet five key activities including:

                          •   tracking number of children being served,

                          •   develop a strategic plan that includes collaboration, coordination,

                              and quality improvement activities

                          •   ensure parents are informed from a child’s birth regarding

                              program    availability   and    offer   opportunities   for   parent

                              involvement
                          •   share best practices to increase collaboration and efficiency of

                              service delivery across the state

                          •   improve the overall quality of statewide early childhood care and

                              education programs through evidence-based practices, improved

                              professional development for providers, and enhanced learning

                              opportunities for children

            i. The Maternal Infant and Early Childhood Home Visiting Formula Grant

               awarded through the Health Resources and Services Administration per

               42 U.S.C. § 711. The total federal expenditures per the 2024 SEFA was

               $10,751,776. This program provides home visits by a nurse, social worker, early

               childhood educator, or other trained professionals during pregnancy and in the

               first years of an eligible child’s life. These home visits help prevent child abuse

               and neglect, support positive parenting, improve overall health for both the

               mother and child, and promote development in school readiness.

            j. Medicaid awarded through Title XIX of the Social Security Act. The total federal

               expenditures per the 2024 SEFA was $33,723,039. Funds include services for

               targeted case management, rehabilitative services, therapeutic care for children




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            and youth with open child welfare cases and who have behavior disorders, many

            of whom are in group care or therapeutic foster settings.

         k. The Social Services Block Grant, Title XX of the Social Security Act, had total

            federal expenditures per the 2024 SEFA of $41,055,399. Grant funds are provided

            to states to assist in providing social services for individuals, families, or an entire

            population group in need of assistance. Payments fund both direct services for

            children and families with open child welfare cases and staff who serve these

            families. Funding accomplishes the following goals:

                        •   prevent, reduce, or eliminate dependency

                        •   achieve or maintain self-sufficiency

                        •   prevent neglect, abuse, or exploitation of children and adults

                        •   preserve, rehabilitate, or reunite families

                        •   prevent or reduce inappropriate institutional care

                        •   secure admission or referral for institutional care when other

                            forms of care are not appropriate

         l. Programmatically, Title IV-E funding is allocated into three separate categories:

               i. Title IV-E Foster Care, Sections 471-472 of the Social Security Act, states

                  must also administer Title IV-B Subpart 1 programs via the federally

                  approved Title IV-B Subpart 1 plan as a condition of receiving Title IV-E

                  federal funds. Total federal expenditures per the 2024 SEFA was

                  $163,995,539. The Title IV-E Foster Care program helps provide safe and

                  stable out-of-home care for children and youth until they are able to return

                  home safely, are placed with adoptive families, or placed in other planned

                  arrangement for permanency. Payments are made directly to caregivers to

                  reimburse for the following costs: shelter, food, personal incidentals,

                  clothing, school supplies, transportation or travel costs for visitation and to

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                 the child’s school of origin, increased day-to-day supervision for a child

                 with special needs, additional physical care of the child by the caregiver,

                 and specialized equipment or items needed for a specific child not otherwise

                 reimbursed by Medicaid.

              ii. Title IV-E Adoption Assistance Program, Sections 471-473 of the Social

                 Security Act, states must also administer Title IV-B Subpart 1 programs via

                 the federally approved Title IV-B Subpart 1 plan as a condition of receiving

                 Title IV-E federal funds. Total federal expenditures per the 2024 SEFA was
                 $56,689,997. Funds for this program are made directly to adoptive parents

                 pursuant to an agreement with caregivers. These payments support the

                 permanent placement of children and youth with special needs in

                 appropriate adoptive homes. This assistance helps prevent inappropriately

                 long stays in foster care and promotes healthy development of children

                 through increased safety, permanency, and well-being.

             iii. Title IV-E Guardianship Assistance Program, Section 473 of the Social

                 Security Act, States must also administer Titel IV-B Subpart 1 programs via

                 the federally approved Title IV-B Subpart 1 plan as a condition of receiving

                 Title IV-E federal funds. Total federal expenditures per the 2024 SEFA was

                 $3,922,310. The primary goal of the Guardianship Assistance Program is to

                 help provide ongoing assistance to relatives who have assumed legal

                 guardianship of children who meet federal eligibility criteria and for whom

                 they previously cared as foster parents. Assistance is intended to prevent

                 long-term stays in foster care and promotes the healthy development of

                 children through familial connection, increased safety, long term

                 permanency, and overall well-being.

         m. Programmatically, Child Care Development Funding (CCDF) is allocated in two

            separate categories:

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                    i. Child Care Mandatory and Child Care Matching grants, Section 418 of

                       the Social Security Act, had total federal expenditures per the 2024 SEFA

                       of $109,883,599. Funds subsidize childcare for low-income families who

                       meet federal eligibility criteria in which parents are working or attending

                       training or educational programs. These funds help promote overall quality

                       childcare for all children regardless of their subsidy receipt.

                    ii. Child Care Discretionary Grant, Child Care and Development Block

                       Grant Act of 1990 (CCDBG Act as amended), had total federal
                       expenditures per the 2024 SEFA of $264,630,110. Discretionary funds are

                       used in coordination with Child Care Mandatory and Matching funds to

                       help low-income families access quality childcare, furthering self-

                       sufficiency in families. DCYF distributes these funds directly to childcare

                       providers.

       16.     Pausing or terminating federal funds would result in drastic cuts to fundamental

DCYF services on which Washington residents depend. This threat to federal funding comes at a

precarious time for Washington State. Washington currently faces a forecasted budget deficit of

more than $12 billion over the next four years. Many Washington State agencies including DCYF

are facing budget cuts. Due to lack of funding, DCYF is targeting a reduction of $300,060,000 in

the next biennium (for fiscal years 2025-27).

       17.     Moreover, the federal funding appropriated by Congress is necessary to recover

expenditures that have already been made, many of which were made pursuant to federally

approved state plans, and to honor our ongoing commitments to not only the Washington children

and families we serve, but also the providers who serve them, many of whom are individuals and

small businesses.

       18.     Following the reported federal funding freeze on January 28, 2025, DCYF received

correspondence from providers, asking for the status of their payments in light of the federal

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funding freeze and inconsistent statements by the federal government about whether the freeze

was still in place or would be reinstated. The uncertainty of the availability of payments threatens

DCYF’s ability to draw and receive federal funds. DCYF relies on individuals and providers to

provide services to children and families served by its systems. Uncertainty of payments threatens

the viability of these systems, the livelihoods of our providers and individuals who receive

payments for these services, and most importantly, the safety and well-being of the children and

families served through them.

       19.     DCYF draws down funds of eligible expenditures from the federal payment system
on scheduled twice-monthly dates unless a special draw is needed, in which case an additional

draw is made. On January 28, 2025, DCYF tried to complete a special draw to obtain available

federal funds at 6:30am and 7:00am, and no funds were available. The message provided in the

payment system stated: Message: Temporary Pause on Disbursement of Federal Financial

Assistance. No funds could be obtained at the time. At 2:32pm DCYF again attempted to run a

special draw, which was successful, and because the payment system was not operational until

then, the payment was delayed beyond the normal scheduled timeframe. Included within these

funds were significant federal reimbursements for payments DCYF had already made and for

which it was owed reimbursement. In fact, the largest amount of federal funds for which DCYF

obtains federal payments are reimbursements for payments already made, rather than funds for

future payments.

       20.     Despite the rescission of the M25-13 OMB memo, the federal government has

stated publicly and repeatedly that they intend to freeze federal funds, thus exacerbating the already

significant risk to Washington State residents that the federal government will not honor their

commitment to reimburse the state for payments already made, or make eligible payments of

appropriated funds, which would leave the state financially responsible for the federal

government’s dereliction of its commitments.




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         21.    Federal withholding of additional billions of dollars in appropriated federal

funding, even temporarily, will drastically and immediately worsen Washington’s budget shortfall,

and cripple critical DCYF programs serving some of Washington’s most vulnerable

citizens. Withholding funding will place children, youth and families in Washington State in great

jeopardy. If childcare providers are not reimbursed timely, they may refuse to care for children,

who without appropriate care could be in dangerous circumstances while their parents work. Youth

in extended foster care or relying an education voucher could become homeless or be removed

from their higher education program. Grandparents caring for their grandchildren unexpectedly
would lose critical financial support, increasing family stress and the likelihood that children will

have to be moved to non-relative foster care. Washington State would either have to cut these

critical programs or incur vast additional state expense to ensure our children’s safety and well-

being.
      I declare under penalty of perjury under the laws of the State of Washington and the United

States of America that the foregoing is true and correct.

         Executed this 5th day of February 2025, in Olympia, Washington.



                                               JENNY HEDDIN
                                               Deputy Secretary, Chief of Staff
                                               Washington State Department of Children, Youth,
                                               and Families




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